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                  UNITED STATES BANKRUPTCY COURT
                EASTERN DISTRICT OF PENNSYLVANIA
                                   :
IN RE: HUGO ACUNA                  : NO. 22-12786
               Debtor              :
                                   : CHAPTER 13


     MOTION OF HOSAM ZAROUR FOR INSTANT AND PROSPECTIVE RELIEF
               FROM THE AUTOMATIC AND CODEBTOR STAY

      Movant, by and through his attorney, Matthew R. Nahrgang,

Esquire, files this Motion for Relief and, in support thereof, avers

the following:

      1.    On or about October 18, 2022, Debtor filed a petition for

relief under Chapter 13 of the Bankruptcy Code.

      2.    Debtor and codebtors, Nina Dione Acuna Strother, and

Adriana Arias had been tenants in Movant’s property with an address

of 1417 Stockton Road, Coatesville, PA 19320 (“the premises”).               The

lease converted to month to month by its terms on June 1, 2019.

However, Debtor and codebtors have been delinquent for months and

Movant sought to terminate due to default and desirous of a new

tenant.    Movant was in the process of evicting Debtor and codebtors

when he learned of the bankruptcy filing. Hence the instant Motion.

      3.    Debtor and codebtors currently occupy the premises and

have not paid rent for months.       Accordingly, Movant seeks to exercise
his state law rights and respectfully requests Relief under both 11
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USC 362 and 11 USC 1301 instantly and prospectively as there would

be no good faith basis for a stay of eviction regarding any future

filing.

      4.   Movant respectfully submits the foregoing is cause for

granting Relief and seeks an Order that such Relief shall apply to

any future bankruptcy filed by the Debtor or codebtors.

      WHEREFORE, Movant respectfully requests that this Court

enter an Order granting the Motion.


                                           Respectfully submitted,
                                           /s/Matthew R. Nahrgang

                                           Matthew R. Nahrgang
                                           Attorney for Movant
